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                      IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO

O CENTRO ESPIRITA BENEFICIENTE UNIAO
DO VEGETAL IN THE U.S.; JOSE CARLOS
GARCIA; DANIELLE HOUNSELL SILVA
GARCIA and J.H.S.G., a minor,

              Plaintiffs,

vs.                                                                  No. CIV 17-1137 JB/KK

ELAINE DUKE, Acting U.S. Secretary of
Homeland Security; L. FRANCIS CISSNA,
Director of U.S. Citizenship and Immigration
Services; KATHY BARAN, Director of U.S.
Citizenship and Immigration Services
California Service Center; UNITED STATES
CITIZENSHIP AND IMMIGRATION SERVICES,
an agency of the United States, in their official
capacity, and UNITED STATES OF AMERICA,

              Defendants.

                                    FINAL JUDGMENT

       THIS MATTER comes before the Court on the Court’s Order and Judgment, filed

March 26, 2018 (Doc. 27)(“Order”). In the Order, the Court entered an unopposed judgment in

favor of Plaintiffs O Centro Espirita Beneficiente Uniao Do Vegetal in the U.S., Jose Carlos

Garcia, Danielle Hounsell Silva Garcia, and J.H.S.G. Order at 1. Having disposed of all issues,

claims, and parties before the Court, the Court now dismisses this case and enters Final

Judgment.

       IT IS ORDERED that: (i) this case is dismissed; and (ii) Final Judgment is entered.
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                                                 ________________________________
                                                 UNITED STATES DISTRICT JUDGE


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